                                          Case 21-50050-rlj7                Doc 128    Filed 05/26/22
                                                                                                FORM 1
                                                                                                       Entered 05/26/22 12:41:37                                  Desc Main
                                                                                      Document      Page 1 of 2
                                                                            INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                  Page:       1
                                                                                                    ASSET CASES
Case No:             21-50050      RLJ Judge: ROBERT L. JONES                                                                         Trustee Name:                     MYRTLE D. MCDONALD, TRUSTEE
Case Name:           TRES RIOS CATTLE COMPANY LLC                                                                                    Date Filed (f) or Converted (c):   09/02/21 (c)
                                                                                                                                     341(a) Meeting Date:               10/19/21
For Period Ending: 05/26/22                                                                                                          Claims Bar Date:



                                      1                                              2                          3                         4                         5                                 6
                                                                                                       Estimated Net Value
                                                                                 Petition/        (Value Determined by Trustee,    Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                               Asset Description                                Unscheduled          Less Liens, Exemptions,          Abandoned                Received by             Gross Value of Remaining Assets
                   (Scheduled and Unscheduled (u) Property)                       Values                and Other Costs)          OA=554(a) Abandon             the Estate

 1. BANK ACCT.                                                                      16,176.24                             0.00                                            238.34                   FA
     Happy State Bank, Payroll Account
 2. Bank Account                                                                         100.00                           0.00                                               0.00                  FA
     Happy State Bank, Operating Account
 3. Livestock                                                                     1,014,000.00                            0.00                                               0.00                  FA
     3470 calves in grow yard - stay lifted as to livestock equipment and 2nd
     lien on real estate in chapter 7 - cattle reduced number on conversion
 4. Kubota 4WD Tractor with FO                                                      15,000.00                             0.00                                               0.00                  FA
     Serial No. KBUL6DHRL

     Stay lifted
 5. Kubota $WD Tractor with FO                                                      15,000.00                             0.00                                               0.00                  FA
     Serial No. KBUL6DHRLJ

     Stay Lifted
 6. Kubota 4WD Tractor with FO`                                                     15,000.00                             0.00                                               0.00                  FA
     Serial No. KBUL6DHRL

     Stay Lifted
 7. 2015 Dodge Ram 3500 Truck                                                         2,500.00                            0.00                                               0.00                  FA
     1100 miles Truck hasnt run in over 6 months. Motor is down
 8. Skidsteer Loader                                                                62,000.00                             0.00                                               0.00                  FA
     stay lifted
 9. Wheel Loader                                                                   120,000.00                             0.00                                               0.00                  FA
     stay lifted
 10. Reinke 7-Tower Pivot                                                           50,000.00                             0.00                                               0.00                  FA




LFORM1                                                                                                                                                                                                            Ver: 22.04a
                                           Case 21-50050-rlj7                 Doc 128    Filed 05/26/22
                                                                                                  FORM 1
                                                                                                         Entered 05/26/22 12:41:37                                          Desc Main
                                                                                        Document      Page 2 of 2
                                                                              INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                            Page:        2
                                                                                                            ASSET CASES
Case No:             21-50050       RLJ Judge: ROBERT L. JONES                                                                                  Trustee Name:                     MYRTLE D. MCDONALD, TRUSTEE
Case Name:           TRES RIOS CATTLE COMPANY LLC                                                                                              Date Filed (f) or Converted (c):   09/02/21 (c)
                                                                                                                                               341(a) Meeting Date:               10/19/21
                                                                                                                                               Claims Bar Date:



                                       1                                                    2                            3                          4                         5                                   6
                                                                                                              Estimated Net Value
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                               Asset Description                                     Unscheduled            Less Liens, Exemptions,             Abandoned                Received by               Gross Value of Remaining Assets
                   (Scheduled and Unscheduled (u) Property)                            Values                  and Other Costs)             OA=554(a) Abandon             the Estate

     Diversified Financial first lien $23,000.00 second lien PCA
 11. John Deere 672G Motor Grader                                                          95,000.00                                0.00                                               0.00                     FA
     Stay Lifted
 12. Vovvo L90                                                                               5,000.00                               0.00                                               0.00                     FA
     Stay Lifted

                                                                                                                                                                                                 Gross Value of Remaining Assets
 TOTALS (Excluding Unknown Values)                                                     $1,409,776.24                              $0.00                                            $238.34                             $0.00
                                                                                                                                                                                                 (Total Dollar Amount in Column 6)

   _____________________________________________________________________________________________________________________________
   Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:


   5-25-22 Small amount of money in bank account to be is distributed. Not covered by liens.


   3-11-22 Appears all assets covered by liens. No value for estate. Foreclosures ongoing and various adversaries
   pending


   12-21 Small amount of money in DIP account. Some investigation ongoiing on estate. Appears to be basically minimal
   asset case.


   Initial Projected Date of Final Report (TFR): 12/31/23           Current Projected Date of Final Report (TFR): 12/31/23




LFORM1                                                                                                                                                                                                                         Ver: 22.04a
